                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                           GREEN BAY DIVISION

ANN PHILLIPS,

and

BRITTANI RILEY,
individually and on behalf of
all others similarly situated,

             Plaintiffs,                      CASE NO. 18-cv-1563

      v.

NAVITUS HEALTH SOLUTIONS, LLC,

             Defendant.


    PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEY FEES AND
                            COSTS


      Pursuant to the Court’s Order granting preliminary approval of the Parties’

Settlement Agreement (ECF No. 30), 29 U.S.C. §216(b), and Fed. R. Civ. P. 23,

Plaintiffs, by and through their attorneys, Hawks Quindel, S.C., hereby respectfully

petition the Court for an award of attorneys’ fees and costs as set forth below and on

the grounds set forth in Plaintiffs’ supporting brief, as well as the accompanying

declarations of Attorneys Summer H. Murshid, Brenda Lewison, Rebecca Salawdeh,

and Scott Luzi.

      1.     Class Counsel has negotiated a settlement on behalf of the FLSA

Collective Classes’ Members and the Rule 23 Classes’ Members that are outlined in




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the Parties’ Settlement Agreement and worked for Defendant during the relevant

statutory periods;

      2.     The settlement creates a total, common settlement fund of $854,000.

Plaintiffs petition the Court for a recovery of 33.33% of the common fund for

attorneys’ fees, in the amount of $284,666.67. Additionally, Plaintiffs petition the

Court for $23,596.75 in costs, for a total of $308,263.42.

      3.     As set forth in greater detail in Plaintiffs’ supporting brief, the

requested attorneys’ fees and costs are reasonable and consistent with the market

rate in similar cases.

      WHEREFORE, Plaintiffs respectfully request that the Court award

attorneys’ fees and costs as set forth above during the telephonic fairness hearing

set for May 14, 2020 at 11:00 am.


Dated this 23rd day of April, 2020.




                                              Respectfully submitted,

                                              s/ Summer H. Murshid
                                              Larry A. Johnson
                                              Bar Number 1056619
                                              Summer Murshid
                                              Bar Number 1075404
                                              Timothy Maynard
                                              Bar Number 1080953

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                                Class Counsel




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